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                              EXHIBIT C
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     Presenting the Nokia N92: TV goes
     Mobile
     The world's ﬁrst integrated DVB-H mobile device makes prime time any time

      
     Nokia Mobility Conference 2005, Barcelona, Spain/Espoo, Finland - At the Nokia Mobility

     Conference, Nokia today proudly presented the Nokia N92, the ﬁrst integrated DVB-H mobile

     device in the Nokia Nseries range for watching broadcast TV programs. The Nokia N92 oﬀers easy

     access to TV programs without having to sit in front of a television set. Users can set reminders to
     watch their favorite TV programs, create personal channel lists and subscribe to TV channel

     packages. The outstanding new form factor oﬀers a highly ergonomic user-experience. The

     usability is further enhanced by the large 2.8" anti-glare QVGA screen with 16 million colors and

     the dedicated media keys that deliver a rich viewing experience. 

      
     "The Nokia N92 is the ﬁrst in a range of products bringing together the rich experience of

     conventional broadcast TV with the connected experience of mobility to create a new category -
     mobile TV," said Richard Sharp, Vice President of Rich Media at Nokia.  "We are conﬁdent that

     mobile TV will be an exciting new service for consumers, as well as generate new opportunities for

     innovation and growth in the mobile and media industries."

      

     The Nokia N92 has four diﬀerent modes for simple and easy usage. The new view mode is

     especially designed for watching TV and video. To start watching mobile TV*, users simply need to

     open the Nokia N92 in view mode and press the Multimedia key. The Electronic Service Guide

     (ESG) contains information about the available TV channels, programs and services. Other mobile

     TV features include watching time of up to four hours, recording and 30 seconds replay.

      


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     The cellular connectivity means people can interact with the TV, through services such as voting,

     program feedback and additional web discovery. Further, the Nokia N92 supports the new Nokia 

     Web Browser with Mini Map, which provides a semi-transparent zoomed-out view of a web page

     that enables users to quickly orient themselves on a small screen. With an overall view of the web

     page, users can intuitively navigate to all corners of it as well as see the web page as it was

     originally designed.

      

     The Nokia N92 is also an XpressMusic device, with up to 2 GB memory card support, oﬀering

     storage for up to 1500 songs delivered through the built-in stereo speakers or a stereo headset.
     The entertainment experience is further complimented by FM radio with Visual Radio support*.

     Additional Nseries features include 2 megapixel camera for print-quality photos and email

     attachment support.

      

     The Nokia N92 provides a rich range of connectivity options such as Wi-Fi, infrared, Bluetooth
     wireless technology as well as USB 2.0 (Mass Storage Class), which allows users to connect the

     Nokia N92 directly to a compatible PC for quick and convenient ﬁle transfers or downloads.

      

     The Nokia N92, which is based on S60 3rd Edition and Symbian OS, is planned to be commercially

     available in mid 2006 in Europe, Africa and Asia, in countries where DVB-H services are available,

     with an estimated, unsubsidized sales price of approximately 600 euros.

      

     *To check the availability and cost of the service, contact your network operator or service

     provider.

      

     Notes to the editors

     DVB-H technology enables the TV service you are familiar with at home to be broadcast to your

     mobile device. DVB-H provides the best user experience in the mobile environment with excellent

     picture and reduced battery consumption. Up to 50 TV channels can be delivered with low cost,

     over one network. With extensive pilots of broadcast mobile TV currently taking place across the

     globe, involving leading broadcasters, mobile operators, broadcast network operators and

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     handset manufacturers, the market for commercial broadcast services is expected to spread
     during 2006.

      

     About Nokia Nseries

     Nokia Nseries is a range of high performance multimedia devices that delivers unparalleled mobile

     multimedia experiences by combining the latest technologies with stylish design and ease of use.

     With Nokia Nseries products, consumers can use a single device to enjoy entertainment, access
     information and to capture and share pictures and videos, whenever and wherever they want.

      

     About Nokia

     Nokia is a world leader in mobile communications, driving the growth and sustainability of the

     broader mobility industry. Nokia connects people to each other and the information that matters

     to them with easy-to-use and innovative products like mobile phones, devices and solutions for

     imaging, games, media and businesses. Nokia provides equipment, solutions and services for
     network operators and corporations.

      

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     www.nokia.com
      

     www.nokia.com/mobiletv

      

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     Please visit the Nokia Mobility Conference 2005 website for more information at:
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     Related photos in print quality can be found at: www.nokia.com/press - > Press Photos

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          3 Jul 2017


          Nokia and China Huaxin close their transaction regarding the creation of
          Nokia Shanghai Bell




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          30 Jun 2017


          Nokia appoints Gregory Lee to head Nokia Technologies and as member
          of the Nokia Group Leadership Team




                                                                                                   




          30 Jun 2017


          Exercises with stock options of Nokia Corporation




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          27 Jun 2017


          Nokia Announces Final Results for its Tender Oﬀers and Consent
          Solicitation




                                                                                                   




          13 Jun 2017


          Nokia Announces Pricing and Early Results for its Tender Oﬀers and
          Consent Solicitation




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          30 May 2017


          Nokia commences Tender Oﬀers for outstanding notes and Consent
          Solicitation from certain note holders




                                                                                                   




          29 May 2017


          Nokia Corporation - Managers' transactions




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          29 May 2017


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                  All Nokia sites



                                                                                                        




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